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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

BILLINGS DIVISION
GALILEA, LLC,
Cause No.
Plaintiff,
v. COMPLAINT
AGCS MARINE INSURANCE (Jury Trial Demanded)

COMPANY, LIBERTY MUTUAL
INSURANCE COMPANY, and TORUS
INSURANCE COMPANY,

 

Defendants.

 

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Plaintiff Galilea, LLC, for its Complaint, states and alleges as follows:
PARTIES

l. Plaintiff Galilea, LLC is a single-purpose limited liability company
formed by Chris and Taunia Kittler (“the Kittlers”) for the purpose of owning their
sailing yacht “Galilea,” a 60-foot 2011 Privilege 615 catamaran.

2. Chris and Taunia Kittler are the sole and managing members of
Galilea, LLC, They reside in Melville, Montana and are citizens of Montana, and,
thus, Galilea, LLC is a citizen of Montana. Galilea, LLC is organized under the
laws of Nevada.

3. Defendant AGCS Marine is an insurance company registered with the
Montana Ofi`lce of the Commissioner of Securities & Insurance. AGCS Marine is
organized under the laws of Illinois and has its principal place of business in
Chicago, Illinois. ACGS is a citizen of Illinois.

4. Defendant Liberty Mutual is an insurance company registered with
the Montana Office of the Commissioner of Securities & Insurance. Liberty
Mutual is organized under the laws of Massachusetts and has its principal place of
business in Boston, Massachusetts. Liberty Mutual is a citizen of Massachusetts.

5. Defendant Torus is an insurance company that appears to be
registered with the Montana Offlce of the Commissioner of Securities & Insurance.

Torus is organized under the laws of Delaware and has its principal place of

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business in Jersey City, New Jersey. Torus is a citizen of Delaware and New
Jersey.

6. Pantaenius America Ltd. (“Pantaenius”) was the agent of, and acted
on behalf of, the Insurers at all relevant times, including With respect to the
issuance of coverage and communicating with Galilea, LLC regarding the issuance
of coverage.

JURISDICTION AND VENUE

7. This Court has subject-matter jurisdiction under 28 U.S.C. § l332(a)
because there is diversity of citizenship between the parties and the amount in
controversy, exclusive of interest and costs, exceeds $75,000.

8. This Court has jurisdiction over Galilea, LLC’s claim for a
declaratory judgment under 28 U.S.C. § 2201.

9. Venue is proper in the District of Montana under 28 U.S.C. § 1391.

FACTS

10. This dispute is about whether the Insurers have wrongfully and
unreasonably denied coverage for the loss of the Kittler’s yacht, Galilea, which
was destroyed when run aground on June 24, 2015.

ll. In May 2015, the Kittlers were sailing Galilea in the Caribbean,

including with their two children and Taunia Kittler’s father, ultimately headed

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towards the Panama Canal and then a marina in San Diego, California, which was
to be Galilea’s home port.

12. The Kittlers were evaluating potential new insurers for Galilea, and a
contact had recommended Pantaenius American Yacht Insurance (“Pantaenius”).
Chris Kittler researched Pantaenius online, viewing its website, which advertises
Pantaenius as “the leading yacht insurance provider worldwide” and as providing
“comprehensive yacht insurance cover[age],” including “[c]overage for worldwide
navigation.” Pantaenius also marketed itself as being “always at your side.”

13. On or about May 6, 2015, Chris Kittler completed a basic
questionnaire and submitted it to Pantaenius.

14. The questionnaire did not ask for the current location of Galilea, and it
did not disclose that the location information that was requested by the
questionnaire would be used to purportedly limit the geographical scope of
insurance coverage for Galilea.

15. In response, on May 7, 2015, Pantaenius emailed Chris Kittler and
specifically touted its offering of “worldwide navigation limits.” In the email,
Pantaenius also advised Chris Kittler that a “signiflcant benefit with the Pantaenius
America Yacht Policy [was its] ability to service insurance needs throughout the

world.”

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16. Pantaenius also provided a premium estimate quotation. The quote
identified a “Cruising Area” but did not disclose or explain the significance of the
“Cruising Area” or that the scope of coverage that would be issued would be
somehow limited as a result.

17. The quote listed a Montana address for Galilea, LLC,

18. 'l`he Kittlers communicated by phone and email with a Pantaenius
representative, Andrea Giacomazza, about purchasing the Policy. The Kittlers
advised her, and Panteanius thus well knew, that Galilea Was at that very instant
sailing in the Caribbean. Indeed, both Chris and Taunia Kittler, in separate phone
calls, told Ms. Giacomazza Where Galilea was, and Taunia Kittler explained to her
that completing and submitting a hard copy of the insurance application would
require them to stop in Puerto Rico to buy a printer/scanner because they were
sailing Galilea toward the Panama Canal and ultimately the San Diego area.

19. In the course of these communications, Pantaenius did not advise
Chris or Taunia Kittler that there would be no insurance coverage for Galilea until
it neared or reached San Diego.

20. On May 12, 2015, after Taunia Kittler purchased the printer/scanner
in Puerto Rico and the application was completed, she emailed the application to

Pantaenius. The application listed a Montana address for Galilea, LLC.

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21. On May 13, 2015, at 12:25 p.m., Pantaenius emailed the Kittlers a
yacht insurance proposal and advised the Kittlers that “the advantages of the
Pantaenius America Yacht Policy” included the availability of “[w]orldwide
navigation limits.”

22. Two minutes later, at 12:27 p.m., Pantaenius emailed the Kittlers an
insurance binder and thanked Chris Kittler “for the opportunity to provide
insurance coverage for [the Galilea].”

23. The binder stated that insurance coverage for the Galilea commenced
on May 12, 2015 at 12:01 a.m. EST, as the Kittlers had requested on the
application. The Insurers promised to provide both property and liability
coverages. Under the binder, the total agreed fixed value of Galilea was
$1,566,600. The binder referenced a “Cruising Area” but again did not explain its
purported significance or state that the scope of coverage for Galilea would be
somehow limited as a result.

24. The binder also listed a Montana address for Galilea, LLC,

25. The Kittlers relied on the Insurers’ promises and representations that
Galiela was covered as of May 12, 2015. Among other things, their reliance
included refraining from purchasing other insurance to protect the Galilea during

its voyage to San Diego.

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26. On May 14, 2015, Pantaenius sent to the Kittlers a 3-page declaration
sheet, an insurance policy form, a “Confirmation of Cover” document, and an
invoice. The enclosed letter was addressed to Galilea, LLC at a Montana address.

27. On May 19, 2015, the Kittlers arranged for and paid to the Insurers
$7,779.30 in premium for one year of coverage for the Galilea.

28. On June 24, 2015, Galilea was grounded in an accident off the coast
of Panama. Chris Kittler and his son had returned to the United States for work
and Galilea Was continuing on to San Diego. Taunia Kittler, the Kittlers’ ll-year-
old daughter, Taunia Kittler’s father, and a captain were aboard at the time of the
accident

29. The accident Was dangerous and horrifying - the yacht flooded and
those aboard required emergency rescue by local authorities Chris Kittler was
notified and awoken by a call from the United States Coast Guard in the middle of
the night.

30. The accident badly damaged the Galilea. Both hulls were holed and
the structural framing of the hulls was damaged and displaced. The rudders, main
engines, propellers, and propeller shafts were all damaged And the interior of the
Galilea was flooded, compromising the interior and electrical system. The

accident also caused rigging and mast damage, among other things.

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31. The vessel was a complete loss, with total repair estimates exceeding
$1.6 million.

32. That same morning of June 24, 2015, Chris Kittler notified Pantaenius
of the accident and made a claim for coverage, including a request for immediate
assistance with salvage efforts.

33. Even though Pantaenius’s advertised commitment is “always at your
side” and even though Pantaenius holds itself out as providing 24-hour-a-day
availability “to efficiently and competently assist you with an emergency yacht
claim,” within hours of receiving notification of the accident and insurance claim,
Pantaenius sent an email stating that the Kittlers Were “obligated to deal directly
with any salvage company and coordinate efforts to salvage” the Galilea.

34. Without any apparent investigation of its knowledge of the location of
Galilea at the time it promised the Kittlers that Galilea was insured and covered,
Pantaenius denied any responsibility on behalf of the lnsurers and advised that
neither it nor the Insurers would provide any insurance coverage or assistance to
the Kittler family in the salvage efforts or otherwise.

35. The sole basis for the Insurers’ denial of coverage is a “Navigational
Limits” provision in the insurance policy form at Section A2(d), purporting to
limit coverage, absent certain exceptions, to when the vessel is within the

“Cruising Area” identified by coordinates on the third page of the declaration

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sheet. The Insurers claim that because the grounding took place outside of the
coordinates defining the “Cruising Area” there is no coverage and they have no
responsibilities in connection with the loss of the Galilea and the accident
Incredibly, the Insurers now deny any knowledge that the Kittlers were sailing in
the Caribbean, or of Galilea’S whereabouts, at the time the Insurers promised to
provide insurance coverage for the Galilea.

36. The Insurers do not claim that the Kittlers misrepresented Galilea’s
location at any time, nor is there any conceivable reason that the Kittlers would do
so. The Kittlers went to great lengths to obtain insurance coverage while they were
in the middle of a significant sea voyage. They believed, in reliance on their
communications with Pantaenius -the “leading yacht insurance provider
worldwide” according to its website - that they had purchased insurance that
provided coverage the day they submitted the application, for their then-present
circumstances ~ sailing in the Caribbean on the insured vessel toward the Panama
Canal and ultimately San Diego.

37. Notably, the lnsurers’ application form did not ask where the vessel
was then located. The only place on the application to provide information about
the vessel’s location at any time is one labeled “Hurricane Season,” next to which

was accurately written “San Diego, California,” where the Kittlers Were taking the

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Galilea. Under “Contact Details of the Yacht,” only a cell phone number and
email address were listed. And a Montana address for Galilea, LLC was provided.

38. In short, despite taking the $7,779.30 premium on May 19, 2015, with
a promise to insure and provide coverage for Galilea on the May 12, 2015
coverage commencement date, and despite Pantaenius’s website’s representation
that it will “efficiently and competently assist you with an emergency yacht
insurance claim,” the Insurers, through their agent Pantaenius, responded to the
Kittlers’ crisis by telling them, within hours of being notified of the emergency,
that the insurance coverage promised and paid for just over a month before was of
absolutely no value to them and that they were on their own to deal with the
traumatic accident off the coast of Panama.

39. Upon information and belief, the lnsurers have denied their coverage
responsibilities to Galilea, LLC without reasonable investigation

40. The Insurers have denied their coverage responsibilities to Galilea,
LLC without reasonable basis.

41. Moreover, following the Insurers’ denial of any coverage
responsibility, the Insurers interfered with Galilea, LLC’s attempted salvage efforts
by causing Triton Salvage Company to stop its salvage efforts.

42. By doing so, the Insurers caused further damage to Galilea, LLC,

including but not limited to the eventual looting of the Galilea.

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43. On July 20, 2015, the Kittlers sent a demand letter to the Insurers,
explaining their disappointment With the Insurers’ handling of the insurance claim,
requesting that the Insurers reconsider their denial of coverage, and asking the
Insurers to provide certain requested information and documents.

44. On July 28, 2015, the Insurers acknowledged receipt of the letter and
advised Chris Kittler by email that they would provide a response shortly.

45. But instead of responding to the letter, the Insurers filed an arbitration
action against Galilea, LLC, attempting to arbitrate this dispute in New York.

46. Galilea, LLC disputes that its claims against the Insurers are subject to
arbitration because, among other reasons:

a. arbitration would improperly deprive Galilea, LLC of its
constitutional right to jury trial;

b. Montana law prohibits the use of arbitration clauses in any
agreement concerning or relating to insurance policies, Mont. Code Ann. §
27-5-114, and also makes void restraints on legal proceedings and
contractual conditions by which a party thereto is restricted from enforcing
its rights in courts in Montana, Mont. Code Ann. § 28-2-708;

c. Galilea, LLC did not agree to the arbitration clause in the
Insurers’ policy, which was not even provided until after the Insurers’

represented coverage for the Galilea was in effect and bound;

ll

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d. the arbitration clause in the insurance policy relied on by the

Insurers, Which is buried Within the fine print of the Insurers take-it-or-

leave-it form contract, without a heading saying anything about arbitration

or any clear and conspicuous text providing notice of arbitration, is
unenforceable because it is procedurally and substantively unconscionable;
and

e. Galilea, LLC’s claims do not come within the scope of the
arbitration clause, even if it could theoretically be enforced.

47. Galilea, LLC seeks an order from this Court declaring that this dispute
is not arbitrable. Galilea, LLC also seeks an order enjoining the Insurers from
further arbitration proceedings until the Court resolves whether the dispute is
subject to arbitration, Furthermore, even if it were determined that this dispute is
arbitrable, Galilea, LLC seeks a declaration that any such arbitration must take
place in Montana,

48. Galilea, LLC pleading in the alternative, as applicable, asserts the
following causes of action against the Insurers.

COUNT I
(Declaratory Relief Against All Insurers)

49. Galilea, LLC incorporates and reasserts the statements and allegations

in all preceding paragraphs as if fully set forth herein.

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50. Under 28 U.S.C. § 2201 and Mont. Code Ann. § 27-8-201, an actual
and justiciable controversy exists between Galilea, LLC and the Insurers
concerning whether the Insurers have a responsibility to provide insurance
coverage for the loss of the Galilea and the subject occurrence, including whether
the “Navigational Limits” provision at Section A2(d) of the policy form document
precludes such coverage,

51. Galilea, LLC seeks a declaration that the Insurers are responsible to
provide coverage for the loss of Galilea and the subject occurrence, and that
Galilea, LLC is entitled to all of its rights, and all amounts promised by and due
from the Insurers, without application of the Navigational Limits provision in the
policy form document on which the Insurers rely.

52. Galilea, LLC also seeks a declaration that this dispute is not subject to
arbitration and, in the alternative if the dispute is arbitrable, that any arbitration

must take place in Montana.

COUNT II
(Breach of Contract Against All Insurers)

53. Galilea, LLC incorporates and reasserts the statements and allegations
in all preceding paragraphs as if fully set forth herein.

54. The Insurers and Galilea, LLC entered into a contract by which
Insurers agreed, among other things, to insure the sailing vessel Galilea against

loss, and defend and indemnify Galilea, LLC from liability claims.

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55. The Galilea’s grounding off the cost of Panama, and all resulting
damage and any liability claims against Galilea, LLC, constitute covered losses
and occurrences under the parties’ contract

56. The Insurers have failed and refused to pay amounts due to Galilea,
LLC under the parties’ contract for the damage to Galilea and other covered
amounts arising out of the subject occurrence, and denied any obligation to defend
and indemnify Galilea, LLC from any potential liability claims related to the
occurrence and loss.

57. The Insurers’ failure, refusal, and repudiation of any obligation to
confirm, accept, and provide coverage under the parties’ contract constitutes a
breach thereof.

58. As a result of Insurers’ breach of contract, Galilea, LLC has suffered
and Will suffer damages in excess of $l,566,500.

COUNT III
(Contract Reformation Against All Insurers)

59. Galilea, LLC incorporates and reasserts the statements and allegations
in all preceding paragraphs as if fully set forth herein.

60. The insurance policy that the Insurers assert to be the operative
contract between them and Galilea, LLC, as actually written, does not express the
contract as understood and agreed upon by the parties, which was to provide

coverage for the Galilea as of May 12, 2015, at its then-current location in the

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Caribbean and throughout its planned voyage to San Diego through the Panama
Canal.

61. The insurance policy that the Insurers assert to be the operative
contract mistakenly includes a “Navigational Limits” provision that purports to
exclude coverage for the Galilea, and make the insurance coverage provided to
Galilea, LLC, worthless at the time the Insurers represented that insurance was in
effect.

62. If the insurance policy were determined to be the operative and
enforceable contract between the parties, it should be reformed to reflect the actual
and true understanding of the parties through the removal of the “Navigational
Limits” provision, without which the Insurers do not dispute their coverage
responsibilities

COUNT IV
(Promissory Estoppel Against All Insurers)

63. Galilea, LLC incorporates and reasserts the statements and allegations
in all preceding paragraphs as if fully set forth herein.

64. The Insurers promised to insure and provide coverage for the Galilea
effective May 12, 2015.

65. Galilea, LLC relied on the Insurers’ promise and representation of
coverage,

66. Galilea, LLC’s reliance was both reasonable and foreseeable.

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67. Galilea, LLC Was injured, and Galilea, LLC has suffered and will
suffer damages in excess of $l ,566,500 as a result of its reliance.

COUNT V
(Equitable Estoppel Against All Insurers)

68. Galilea, LLC incorporates and reasserts the statements and allegations
in all preceding paragraphs as if fully set forth herein.

69. The Insurers’ conduct, acts, language, and silence amounted to
concealment of the Insurers’ position that Galilea was not covered based on its
location When the Insurers promised to insure and cover Galilea effective May 12,
2015.

70. Galilea, LLC reasonably believed that the Galilea was insured and
covered effective May 12, 2015, and did not know the Insurers’ position that
Galilea was not covered,

71. The Insurers’ conduct was undertaken, and their representations were
made, With the intention, or at least the expectation, that Galilea, LLC would rely
on them,

72. Galilea, LLC did rely on the Insurers’ conduct and representations to
its detriment.

73. As a result of its reliance, Galilea, LLC has suffered and Will suffer

damages in excess of $1,566,500.

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74. Relief should be granted here, where, in view of all of the
circumstances, to deny it would permit Galilea, LLC to suffer a gross Wrong at the
hands of the Insurers,

COUNT VI

(Breach of Implied Covenant of Good Faith & Fair Dealing
Against All Insurers)

75 . Galilea, LLC incorporates and reasserts the statements and allegations
in all preceding paragraphs as if fully set forth herein.

76. The Insurers and Galilea, LLC entered into an insurance contract by
which the Insurers agreed, among other things, to insure the sailing vessel Galilea
against loss, and defend and indemnify Galilea, LLC from liability claims.

77. The Insurers owed Galilea, LLC a common-law duty of good faith
and fair dealing.

78. The Insurers’ wrongful misconduct, as set forth above, breached the
Insurers’ common-law duty of good faith and fair dealing to the extent the
Insurers’ wrongful and unreasonable conduct is not exclusively actionable under
Montana’s Unfair 'l`rade Practices Act.

79. Galilea, LLC has suffered and will suffer damages in excess of

$l ,566,500 as a result of the Insurers’ breaches of their common-law duty of good

faith and fair dealing.

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80. The Insurers’ breach of their common-law duty of good faith and fair
dealing Warrants an award of punitive damages against the Insurers. The Insurers
had knowledge of facts, or intentionally disregarded facts, that created a high
probability of injury to Galilea, LLC, and have deliberately acted with indifference
to, or in conscious or intentional disregard of, the high probability of injury to
Galilea, LLC,

COUNT VII
(Breach of Fiduciary Duty Against All Insurers)

81. Galilea, LLC incorporates and reasserts the statements and allegations
in all preceding paragraphs as if fully set forth herein.

82. The Insurers owed Galilea, LLC a common-law fiduciary duty arising
out of their relationship with Galilea, LLC,

83. The Insurers’ misconduct described above breached that common-law
fiduciary duty and is actionable to the extent it is not exclusively actionable under
Montana’s Unfair Trade Practices Act.

84. Galilea, LLC has suffered and will suffer damages in excess of
$1,5 66,500 as a result of the Insurers’ breaches of their common-law fiduciary
duty.

85. The Insurers’ breach of their common-law breach of fiduciary duty
warrants an award of punitive damages against the Insurers, The Insurers had

knowledge of facts, or intentionally disregarded facts, that created a high

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probability of injury to Galilea, LLC, and have deliberately acted with indifference
to, or in conscious or intentional disregard of, the high probability of injury to
Galilea, LLC,

COUNT VIII
(Violation of Montana Unfair Trade Practices Act Against All Insurers)

86. Galilea, LLC incorporates and reasserts the statements and allegations
in all preceding paragraphs as if fully set forth herein.

87. The Insurers have engaged in misconduct that violates Montana’s
Unfair Trade Practices Act. Such conduct includes, but is not limited to, the
following:

a. The Insurers have misrepresented pertinent facts regarding their
knowledge of the location of Galilea at the time they promised to insure
Galilea, and insurance policy provisions relating to coverages at issue;

b. Upon information and belief, the Insurers have refused to pay
Galilea, LLC’s claim without conducting a reasonable investigation based
upon all available information, as evidenced by the Insurers’ denial of
coverage for the loss of the Galilea within hours of receiving notice of the
accident and claim;

c. The Insurers have failed to attempt in good faith to effectuate
prompt, fair, and equitable settlement of Galilea, LLC’s insurance claim in

which liability has become reasonably clear.

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88. Galilea, LLC has suffered and will suffer damages in excess of
$1,566,500 because of the Insurers’ violations of Montana’s Unfair Trade Practices
Act, and Galilea, LLC seeks all damages allowed by the Act.

89. The Insurers’ violations of Montana’s Unfair Trade Practices Act
warrant an award of punitive damages against the Insurers. The Insurers had
knowledge of facts, or intentionally disregarded facts, that created a high
probability of injury to Galilea, LLC, and have deliberately acted With indifference
to, or in conscious or intentional disregard of`, the high probability of injury to
Galilea, LLC,

COUNT IX
(Negligent Misrepresentation Against All Insurers)

90. Galilea, LLC incorporates and reasserts the statements and allegations
in all preceding paragraphs as if fully set forth herein.

91. The Insurers represented that as of May 12, 2015, the Galilea was
insured and covered. These representations included but were not limited to the
Insurers’ written representations to the Kittlers on May 13, 2015 that Galilea Was
insured effective May 12, 2015, and that Galilea, LLC had insurance coverage for
the Galilea.

92. The Insurers now maintain that this representation was untrue, and

contend that the Galilea was not covered as of May 12, 2015 because of its then-

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current location, which the Insurers knew or should have known before they
represented that the Galilea was insured and covered.

93. If the Insurers’ position that there is no coverage for the Galilea under
the parties’ contract is correct, the Insurers made the representation that the Galilea
was insured and covered effective May 12, 2015 without reasonable basis

94. The Insurers’ representations that Galilea was insured and covered as
of May 12, 2015 were made with the intent to induce Galilea, LLC to rely on the
representations and so that the Insurers could obtain insurance premiums f`rom
Galilea, LLC.

95. Galilea, LLC was unaware that the Insurers’ representations of
coverage were untrue, Galilea, LLC justifiably relied on said representations and
did so to its extraordinary detriment, as it paid for insurance coverage intending
and expecting to have immediate coverage for Galilea while it continued its
planned voyage.

96. To the extent that the parties’ contract does not provide coverage for
the subject occurrence and loss, including by operation of the Navigational Limits
provision in the policy form document, the Insurers’ representations to Galilea,
LLC were careless and incorrect, and constitute actionable misrepresentations

97. As a result of such misrepresentations Galilea, LLC has suffered and

Will suffer damages in excess of $1,566,500.

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COUNT X
(Constructive Fraud Against All Insurers)

98. Galilea, LLC incorporates and reasserts the statements and allegations
in all preceding paragraphs as if fully set forth herein.

99. As Galilea, LLC’s insurers the Insurers stood in a special relationship
to Galilea, LLC, including a fiduciary relationship That special relationship
obliged the Insurers to be truthful in their representations to Galilea, LLC,

100. The insurers breached their obligations through the communications
and representations described above, including but not limited to the
communications and representations described in paragraphs 12-23, 37-38, and 91.

101. Because of the Insurers’ breach of their obligations, the Insurers
misled Galilea, LLC and gained an advantage to the prejudice of Galilea, LLC,

102. Galilea, LLC has suffered and will suffer damages in excess of
$1,566,500 as a direct and proximate result of the Insurers’ constructive fraud.

103. The Insurers’ constructive fraud warrants an award of punitive
damages against the Insurers, The Insurers had knowledge of facts, or
intentionally disregarded facts, that created a high probability of injury to Galilea,
LLC, and have deliberately acted with indifference to, or in conscious or

intentional disregard of, the high probability of injury to Galilea, LLC,

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COUNT XI
(Tortious Interference With Contract Against All Insurers)

104. Galilea, LLC incorporates and reasserts the statements and allegations
in all preceding paragraphs as if iiilly set forth herein.

105. Following the accident, Galilea, LLC made arrangements for salvage
of the Galilea with Triton Salvage Company.

106. Triton agreed to salvage the Galilea, and Galilea, LLC agreed that
Triton would be paid for its salvage services

107. But on or about June 24, 2015, the Insurers unlawfully, wrongfully,
and Without justification interfered with the salvage efforts by communicating with
Triton Salvage Company and causing and inducing Triton to stop its salvage
efforts

108. Triton ultimately refused to perform and salvage the Galilea.

109. As a result of the Insurers’ tortious interference, the Insurers caused
further damage to Galilea, LLC, including but not limited to the eventual looting of
the Galilea and its equipment, property, and contents

COUNT XII

(Tortious Interference With Prospective Economic Advantage
Against All Insurers)

110. Galilea, LLC incorporates and reasserts the statements and allegations

in all preceding paragraphs as if fully set forth herein.

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111. Following the accident, Galilea, LLC made arrangements for salvage
of the Galilea with Triton Salvage Company.

112. But on or about June 24, 2015, the Insurers unlawfully, wrongfully,
and without justification interfered with the anticipated, prospective salvage efforts
by communicating with Triton Salvage Company and causing and inducing Triton
to stop its salvage efforts

113. Triton ultimately refused to perform and salvage the Galilea.

114. As a result of the Insurers’ tortious interference, the Insurers caused
further damage to Galilea, LLC, including but not limited to the eventual looting of
the Galilea and its equipment, property, and contents

DEMAND FOR JURY TRIAL
Galilea, LLC demands a trial by jury to the fullest extent permitted by law.
PRAYER FOR RELIEF

WHEREFORE, Galilea, LLC requests relief against the Insurers as follows:

(1) Declaratory judgment, declaring the parties’ rights and responsibilities
under their contract or otherwise;

(2) An order staying arbitration proceedings pending resolution of

whether Galilea, LLC’s claim are subject to arbitration;

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(3) All damages allowed by law, including compensatory damages and
consequential damages flowing from the Insurers’ breach of their duties as set
forth above;

(4) All damages allowed by law, including exemplary and punitive
damages to the maximum extent allowed by law;

(5) All attorneys’ fees, costs, and expenses incurred by Galilea, LLC in
connection with this matter;

(6) All interest on the above-described amounts allowed by law; and

(7) Such other and iiirther relief as deemed just, appropriate, necessary or
proper.

DATED: August 28, 2015 BOONE KARLBERG P.C.

/s/Ross D. Tillman, Esq.

 

Ross D. Tillman, Esq.

-with-

Bryan R. Freeman, Esq. (pro hac vice
motion forthcoming)

John J. Laravuso, Esq. (prc hac vice

motion forthcoming)

Attorneysfor Galilea, LLC

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